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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


DAVID A. ROSE,

                Plaintiff,

 v.                                                    Case No. 8:19-cv-02895-TPB-AEP


WHITES & ASSOCIATES, INC,

                Defendant.


                PLAINTIFF’S RESPONSE TO ORDER TO SHOW CAUSE

       NOW COMES David A. Rose (“Plaintiff”), by and through his undersigned counsel,

submitting his response to this Honorable Court’s Order to Show Cause entered on February 12,

2020 [Dkt. 7] as follows:

           1. On November 22, 2019, Plaintiff filed his Complaint against Whites & Associates,

Inc. (“Defendant”) for violations of the Fair Debt Collection Practices Act, Telephone Consumer

Protection Act, and Florida Consumer Collection Practices Act. [Dkt. 1].

           2. At the time of filing, Alexander J. Taylor (“Plaintiff’s counsel”) from Sulaiman

Law Group, Ltd. (“SLG”) was the attorney of record for Plaintiff.

           3. On December 16, 2019, Plaintiff effectively served Defendant. [Dkt. 6].

           4. On January 6, 2020, Defendant reached out to Plaintiff and initiated

communications in an attempt to resolve this matter.

           5. The parties continue to maintain active discussions in effort to find a resolution of

this matter.




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           6. Plaintiff requests an additional fourteen (14) days to attempt to resolve this matter,

at which point Defendant will have to answer or Plaintiff will file for an entry of default.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court terminate the

Order to Show Cause without any further action and extend Defendant’s answer date 14 days.



Dated: February 21, 2020                         Respectfully Submitted,

                                                 /s/ Alexander J. Taylor
                                                 Alexander J. Taylor, Esq.
                                                 Counsel for Plaintiff
                                                 Admitted in the Middle District of Florida
                                                 Florida Bar Number: 1013947
                                                 Sulaiman Law Group, Ltd.
                                                 2500 South Highland Ave., Suite 200
                                                 Lombard, Illinois 60148
                                                 (331) 307-7646 (phone)
                                                 (630) 575-8188 (fax)
                                                 ataylor@sulaimanlaw.com




                                 CERTIFICATE OF SERVICE

       I, Alexander J. Taylor, hereby certify that on February 21, 2020, caused a copy of the

foregoing document to be electronically filed with the Clerk of Court using the CM/ECF system

which will be sent to all attorneys of record.


                                                               s/ Alexander J. Taylor
                                                               Counsel for Plaintiff




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